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GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B) Page | of 2 (Page 2 Not for Public Disclosure)
UNITED STATES DISTRICT COURT
for the

 

Southern District of Georgia
Statesboro Division

 

United States of America

v. )
) Case No: 6:09CR00041-2 _
Jonathan Luther Jones, ) — ~ — —
aka “Black Dog”
) USMNo: 14046-021 :
Date of Original Judgment: February 17, 2010 )
Date of Previous Amended Judgment: April3,2012 _ ) Floyd M. Buford, Jr. - ee
(Use Date of Last Amended Judgment if Any) Defendant's Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(1)(B)

Upon motion of [the defendant [the Director of the Bureau of Prisons [] the court under 18 U.S.C.
§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
§] DENIED. [IGRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) Of months is reduced to ‘

(Complete Parts | and II of Page 2 when motion is granted)
In addition to reducing the imprisonment term as noted above, the previously imposed term of supervised release is

reduced to a term of years,

IT IS SO ORDERED.

Order Date: 4f1]20 l —

Effective Date: J. Randal Hall, Chief Judge
United States District Court
oe Southern District of Georgia -
(if different from order date) Printed name and title

 
